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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MONTANA
                             BILLINGS DIVISION


LIBERTY MUTUAL INSURANCE                       Case No. CV-13-106-BLG-SEH
COMPANY,
                                                    AMENDED JUDGMENT
                     Plaintiff,                       IN A CIVIL CASE

 vs.

TRAPPER PEAK CONSTRUCTION,
INC., ROBERT R. MALONE, and
SHEILA M. MALONE,

                     Defendants.


        Jury Verdict. This action came before the Court for a trial by jury. The
 issues have been tried and the jury has rendered its verdict.

 X     Decision by Court. This action came before the Court for bench trial,
 hearing, or determination on the record. A decision has been rendered.

        IT IS ORDERED AND ADJUDGED Amended Judgment is entered on
 behalf of Plaintiff and against Defendant, Trapper Peak Construction, Inc., in the
 amount of $1,487,916.66, plus post-judgment interest accruing at the maximum
 rate allowed by law. Said judgment amount includes attorneys in the amount of
 $395,748.77, and costs in the amount of $53,653.58.

       Dated this 5th day of November, 2015.

                                  TYLER P. GILMAN, CLERK

                                  By: /s/ Darlene DeMato
                                  Deputy Clerk
